   Case
Name     2:22-cv-06515-MWF-AGR Document 124 Filed 03/04/24 Page 1 of 1 Page ID #:5447
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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
HIDDEN EMPIRE HOLDINGS, LLC; a Delaware                   CASE NUMBER:
limited lability company; etal.
                                                                      2:22-cv-06515-MWF-AGR
                                           PLAINTIFF(S)
                   v.
DARRICK ANGELONE, an individual; etal.                             NOTICE OF MANUAL FILING
                                                                         OR LODGING
                                        DEFENDANT(S).

PLEASE TAKE NOTICE:
       Pursuant to Local Rule 5-4.2, the following document(s) or item(s) are exempt from electronic filing,
and will therefore be manually ✔ Filed ✔ Lodged : (List Documents)

Attached please find a thumb drive containing a video filed in support of:

EXHIBIT 66 TO PLAINTIFFS’ SUPPLEMENTAL COMPENDIUM OF EVIDENCE IN SUPPORT OF
SUPPLEMENTAL DECLARATION OF LAWRENCE C. HINKLE, II, IN SUPPORT OF REPLY TO
OPPOSITION TO PLAINTIFFS’ MOTION FOR ORDER TO SHOW CAUSE WHY SANCTIONS SHOULD
NOT BE IMPOSED AGAINST DEFENDANTS FOR (1) VIOLATING THE PRELIMINARY INJUNCTION
[CONTEMPT] AND (2) SPOLIATION OF EVIDENCE



Reason:
      Under Seal
      In Camera
✔     Items not conducive to e-filing (i.e., videotapes, CDROM, large graphic charts)
      Per Court order dated:
      Other:




March 4, 2024                                              Lawrence C. Hinkle, II
Date                                                       Attorney Name
                                                           HIDDEN EMPIRE HOLDINGS, LLC; etal.
                                                           Party Represented


Note: File one Notice of Manual Filing or Lodging in each case, each time you manually submit a document(s).
G-92 (05/15)                           NOTICE OF MANUAL FILING OR LODGING
